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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

JOHN A. NEAL,                           )
                                        )
      Plaintiff,                        )
                                        )
      vs.                               )      2:12-cv-02641-LSC
                                        )
MIDLAND FUNDING, LLC,                   )
and MIDLAND CREDIT MAN-                 )
AGEMENT, INC.,                          )
                                        )
      Defendants.                       )

                                     ORDER

      The Court has been advised that the above-entitled cause is resolved.

Accordingly, this case is DISMISSED with prejudice. Any party may, for good cause

shown, reopen the action within thirty (30) days from the date of this Order. Costs

are taxed as paid.

      Done this 11th day of September 2012.




                                              L. SCOTT COOGLER
                                    UNITED STATES DISTRICT JUDGE
                                                                      171032
